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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBTA


TEKWAY, INC,                                 I

                                             I

                       PLAINTIt F,           I

                                             I
                                                     Crvrl- AcrroN No. 19-0430 (TSC)
                                             I

UNITED STATES CITIZENSHIP                    I

AND IMMIGRATION SERVICES,                    I

                                             I

                       DEFENDANT.                I




                         DECLARATION OF BAXTER D' NORCROSS

       I, Baxter D. Norcross, hereby declare, pursuant to 28 U.S.C. $17 46, the following to be

true and correct:

l.      I am a Supervisory Immigration Services officer ("sISo") with U.S. citizenship and

Immigration Services located at the califomia Service center ("cSC") in Laguna Niguel,

Califomia. I have been in my current position for five months and have worked at CSC for a

total of tbur years.

2.      As a SISO, I am responsible for supervising the work of Immigration Services Officers in

CSC,s Employment Branch. These officers are trained to adjudicate various immigration

benefits, including the Form 1-129, Petition for a Nonimmigrant Worker, which may be filed

seeking classification ofan alien as an H-18 specialty occupation worker, among other

nonimmigrant classifi cations.

3.      I am making this declaration in support of letway, Inc. v. united States Citizenship and

Immigration Servrces, Civil Action No. 19-0430, filed on March 6,2019, in the U.S. District

Court for the District of Columbia. I have reviewed the available documents and records

provided, and I am familiar with the issues in dispute.
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    4.    The     H-lB visa   is a nonimmigrant classification that incrudes temporary
                                                                                       workers in a
 specialty occupation' The cSC is one ofthe service centers to
                                                               accept, process, and adjudicate

 Form    1- 129   petitions filed by emproyers on behalf of prospective or current
                                                                                   employees.

5'        on April 12,2019, cSC received the Form I-r29 and supporting documentation
                                                                                     filed by
Tekway, Inc. on behalf of Manoj Kumar Koduru to alrow him to change his
                                                                        status and extend his

stay in the United States as an H-l B nonimmigrant employee.

6.        On July 9, 2018, CSC issued a Request for Evidence (,RFE").

7.       on   September 24, 2018,       plaintiff responded to the cSC's RFE and provided
                                                                                          additional

evidence.

8.       Plaintifls petition     on behalf   olManoj Kumar Koduru was denied on November l3

201 8.


9-       on April 12,2018, cSC received the Form I-129 and supporting documenration filed by

Tekway, Inc. on behalfof Stevenson sunchu to allow him to change his status and extend his

stay in the United States as an H-1B nonimmigrant employee.

10.      On July 9,2018, CSC issued a Requesr for Evidence          ("RIE").

I   l.   on   September 24,2018, Plaintiff responded to the cSC's RFE and provided additional

evidence.

12.      Plaintiffs petition on behalf of Stevenson Sunchu was denied on November 13,201g.

13.      onJune      13   , 2019 , pursuant toits sua sponre authority at 8 code ofFederal Regulations

(C.F.R.) g 103.5(a)(5)(ii), CSC reopened and vacated both decisions ar issue in this case. CSC is

preparing a new RFE for each petition, to be issued shortly, in order to provide Tekway, Inc. an

additional opportunity to submit evidence in support of its petitions.
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I declare under penalty ofperjury that the loregoing is true and correct.



Executed this 13th day of June, 2019, at Laguna Niguel, Califomia.




                                                        -7,-,--"'--
                                              Baxter D. Norcross
                                              Supervisorv lmmigration Serv ices Otficer'
                                              U.S. Citizenship and Lnmigration Services
